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                                #:63791

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                        UNITED STATES DISTRICT COURT
 10                    CENTRAL DISTRICT OF CALIFORNIA
                              EASTERN DIVISION
 11
 12   KELVIN HERNANDEZ ROMAN,                 )   Case No. 5:20-cv-00768-TJH-PVCx
      BEATRIZ ANDREA FORERO                   )
 13   CHAVEZ, MIGUEL AGUILAR                  )   ADELANTO COVID
      ESTRADA, on behalf of themselves and    )
 14   all others similarly situated,          )   ORDER GRANTING JOINT
                                              )   STIPULATION TO MODIFY
 15               Petitioners-Plaintiffs,     )   CONDITIONS OF RELEASE
                                              )   FOR CLASS MEMBER VASIL
 16   v.                                      )   VUKAJ [1621]
                                              )
 17   CHAD F. WOLF, Acting Secretary, U.S. )      Hon. Terry J. Hatter, Jr.
      Department of Homeland Security;        )
 18   MATTHEW T. ALBENCE, Deputy              )
      Director and Senior Official Performing )
 19   the Duties of the Director, U.S.        )
      Immigration and Customs Enforcement; )
 20   DAVID MARIN, Director of the Los        )
      Angeles Field Office, Enforcement and   )
 21   Removal Operations, U.S. Immigration    )
      and Customs Enforcement; and JAMES )
 22   JANECKA, Warden, Adelanto ICE           )
      Processing Center,                      )
 23                                           )
                   Respondents-Defendants.    )
 24                                           )
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  1         Pursuant to the parties’ stipulation and for good cause shown, this Court
  2   hereby enters the following modifications to the terms and conditions of Member
  3   Vasil Vukaj’s release. See ECF Nos. 658 (Bail Application) (sealed); 706 (Bail
  4   Order); 1090 (First Joint Stipulation to Modify Vasil Vukaj Release Conditions
  5   (sealed); 1091 (First Order Granting Modification of Vasil Vukaj Release
  6   Conditions).
  7         1.       Mr. Vukaj shall reside at the address submitted to the Court in the
  8   Joint Stipulation to Modify Conditions of Release for Class Member Vasil Vukaj
  9   [“the Approved Residence”].
 10         All other conditions of release set forth in the Bail Order, ECF No. 706,
 11   remain the same.
 12
      Dated: June 28, 2022
 13                                            HONORABLE TERRY J. HATTER, JR.
                                               United States District Judge
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